        Case 1:18-cv-01962-LPS Document 147-1 Filed 10/30/20 Page 1 of 5 PageID #: 4499




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE


                                                          )
         SILVERGATE PHARMACEUTICALS, INC.,                )
                                                          )   C.A. No. 19-678 (LPS)
                               Plaintiff,                 )   C.A. No. 20-1255 (LPS)
                                                          )
                       v.                                 )
                                                          )
         AMNEAL PHARMACEUTICALS LLC,                      )
                                                          )
                               Defendant.                 )
                                                          )


                            DEFENDANT AMNEAL PHARMACEUTICALS LLC’S
                                 CROSS-MOTION TO CONSOLIDATE

                Pursuant to Federal Rule of Civil Procedure 42(a), Defendant Amneal Pharmaceuticals

         LLC (“Amneal”) respectfully moves to consolidate. The grounds for this motion are set forth in

         Amneal’s Brief (1) in Support of Amneal’s Cross-Motion to Consolidate and (2) in Opposition to

         Silvergate’s Motion to Consolidate, submitted herewith.




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        Case 1:18-cv-01962-LPS Document 147-1 Filed 10/30/20 Page 2 of 5 PageID #: 4500




             Dated: October 30, 2020           YOUNG CONAWAY STARGATT &
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        Case 1:18-cv-01962-LPS Document 147-1 Filed 10/30/20 Page 3 of 5 PageID #: 4501




                                         CERTIFICATE OF SERVICE

                I, Anne Shea Gaza, Esquire, hereby certify that on October 30, 2020, I caused to be

         electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

         using CM/ECF, which will send notification that such filing is available for viewing and

         downloading to all registered participants.

                 I further certify that on October 30, 2020, I caused the foregoing document to be served

         by e-mail on the following counsel of record:

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Case 1:18-cv-01962-LPS Document 147-1 Filed 10/30/20 Page 5 of 5 PageID #: 4503




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


                                                  )
 SILVERGATE PHARMACEUTICALS, INC.,                )
                                                  )   C.A. No. 19-678 (LPS)
                       Plaintiff,                 )   C.A. No. 20-1255 (LPS)
                                                  )
                v.                                )
                                                  )
 AMNEAL PHARMACEUTICALS LLC,                      )
                                                  )
                       Defendant.                 )
                                                  )


                               D. DEL. LR 7.1.1. STATEMENT

       The undersigned hereby certifies that a reasonable effort was made to reach agreement with

Plaintiff on the matters set forth in Defendant Amneal Pharmaceuticals LLC’s Cross-Motion to

Consolidate, including oral communication involving Delaware counsel, and no agreement was

reached.

  Dated: October 30, 2020                        YOUNG CONAWAY STARGATT &
                                                 TAYLOR, LLP
  Of Counsel:
                                                 /s/ Anne Shea Gaza
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